                                                                     (SPACE BELOW FOR FILING STAMP ONLY)
      Case 1:10-cr-00419-DAD Document 150 Filed 04/25/12 Page 1 of 2


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 4
 5      ATTORNEYS FOR Defendant,
                         ROBERTO MARTIN MENDOZA-BALLARDO
 6
 7
                                   UNITED STATES DISTRICT COURT
 8
                                  EASTERN DISTRICT OF CALIFORNIA
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                                                 ********
10
      UNITED STATES OF AMERICA,                          Case No.:       1:10-CR-00419-LJO
11
                     Plaintiff,
12                                                            STIPULATION TO CONTINUE
                                                                    SENTENCING
13           vs.                                                        AND
                                                                      ORDER
14
      ROBERTO MARTIN MENDOZA-
15    BALLARDO, et al.,
16                   Defendants.
17
18   TO:    THE UNITED STATES DISTRICT COURT; UNITED STATES ATTORNEY'S OFFICE
            and/or ITS REPRESENTATIVES:
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            IT IS HEREBY STIPULATED and agreed by and between attorneys for the respective
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     clients that the Sentencing hearing currently on calendar for May 14, 2012, at 8:30 a.m., be continued
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     to June 18, 2012, at 8:30 a.m., or as soon thereafter as is convenient to the court’s calendar.
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            IT IS FURTHER STIPULATED that the deadlines for filing informal and formal
23
     objections to the Pre-Sentence Investigation Report be scheduled as follows:
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                     Informal Objections to be served on or before May 28, 2012
25
                     Formal Objections to be filed on or before June 11, 2012
26
            This continuance is requested by counsel for Defendant, ROBERTO MARTIN MENDOZA-
27
     BALLARDO, due to the fact that counsel needs additional time prepare informal objections to the
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     probation report. Specifically, due to the fact that the Defendant is housed at Lerdo, Counsel was
      Case 1:10-cr-00419-DAD Document 150 Filed 04/25/12 Page 2 of 2


 1   unable to meet with defendant until last week. Additionally, counsel was in trial during the week
 2   of April 9-13, 2012, continuing through April 16, 2012, and has not had the time to prepare
 3   objections to the report in this case.
 4            Counsel for Defendant has spoken with Assistant U. S. Attorney, KATHLEEN
 5   SERVATIUS, who has no objection to this continuance.
 6   Dated: April 24, 2012                    Respectfully Submitted,
 7                                            NUTTALL COLEMAN & WILSON
 8                                            /s/ MARK W. COLEMAN
 9
                                              MARK W. COLEMAN
10                                            Attorney for Defendant,
                                              ROBERTO MARTIN MENDOZA-BALLARDO
11
     Dated: April 24, 2012.                   UNITED STATES ATTORNEY’S OFFICE
12
                                              /s/ KATHLEEN SERVATIUS
13
14                                            KATHLEEN SERVATIUS
                                              Assistant U.S. Attorney
15
16                                                *******
17                                                 ORDER
18   GOOD CAUSE HAS BEEN STATED. GRANTED.
19   IT IS SO ORDERED.
20   Dated:     April 25, 2012                          /s/ Lawrence J. O'Neill
     b9ed48                                         UNITED STATES DISTRICT JUDGE
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